             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI
                          WESTERN DIVISION

UNITED STATES OF AMERICA,
    Plaintiff,

v.                                           Case No. 24-CR-00037-01-SRB

JOHNSON MANGOL,
    Defendant.

     ____________________________________________________________________

                          MOTION TO SUPPRESS
     ____________________________________________________________________

      Johnson Mangol moves this Court to suppress the evidence derived from the

unlawful search of his apartment at 4801 Independence Avenue, Apartment 2E,

Kansas City, Missouri on January 26, 2023, and any statements of Mr. Mangol

subsequent to and based on this unlawful search. The evidence should be

suppressed because the search was not supported by probable cause, the good faith

exception does not apply, and thus was in violation of the Fourth Amendment to the

United States Constitution. In support of this motion, Mr. Mangol states the

following:



                             STATEMENT OF FACTS

       On January 19, 2023, Detective Michael Wells of the Kansas City, Missouri

Police Department submitted an Application for Search Warrant to Honorable

Janette K. Rodecap, Associate Circuit Court Judge with the Sixteenth Judicial




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Circuit of Missouri.1 The application described the place to be searched as follows:

          An apartment inside of 4801 Independence Avenue, Kansas City, Jackson
          County, MO. It is a two story brick structure with businesses on the first floor
          and apartments on the second floor. Access to the apartment to be searched is
          gained by responding to the rear, south side of the building, entering the
          western most south facing door, ascending the stairwell to the second floor,
          immediately turn left at the top of the stairwell and enter the south facing
          door.2

Based on the information provided by Wells, the Judge approved the Search

Warrant at 3:37 PM on January 19, 2023.

           In the search warrant application, Wells sets forth the investigation. On

January 10, 2023, officers of the Missouri Western Interdiction and Narcotics

(MOWIN) Task Force conducted surveillance of 4801 Independence Avenue. Mr.

Mangol is seen on 6th Street behind the apartment building getting into a grey

sedan with a woman. He stays in the car for about 5 minutes. When he gets out of

the car, he waves at a person in a Honda Civic that pulls up behind the grey sedan.

Mr. Mangol walks to the apartment building and enters the back door of the

building. A few minutes later, Mr. Mangol is seen coming out the same door. He

walks back over to 6th Street where he enters three different cars for short periods

of time.

           MOWIN officers follow the Honda Civic and stop the car at Independence

Avenue and Denver. At that location, they speak to the driver, Hayden Lawrence.

Officers observe something protruding from his pants pocket. This item appears to

be a crushed white pill that officers believe to be fentanyl.


1
    Attached as Exhibit A.
2
    Application for Search Warrant, Case Number KC23002048, dated January 19, 2023. (Bates 255)


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           Supplementing his observations on January 10, 2023, Wells asserts,

“Members of the MOWIN Task Force conducted surveillance at 4801 Independence

Avenue on numerous occasions in December of 2022 and January of 2023.”3 No

specific dates are included in this general statement. He goes on to surmise that

surveillance revealed a pattern in which Mr. Mangol would exit the apartment

building, meet people on 6th Street, enter their car, exit the car, and return to the

apartment building. The most recent observation of this “pattern” was January 17,

2023.

           On January 26, 2023, seven days after the search warrant was signed, Wells

and other officers prepared to execute the search warrant at 4801 Independence

Avenue. As they surveilled the address, Mr. Mangol and Ms. House exited the

building and entered a car. Officers conducted a car check and took both Mr.

Mangol and Ms. House into custody. Mr.Mangol was transported to the police

station and placed on a 24-hour investigation hold.

           Meanwhile, law enforcement executed the search warrant at 4801

Independence Avenue and seized evidence including 17 blue “M30” pills; a draw

string bag hanging near the dresser that contained over 100 unused plastic baggies;

a Ruger, Model SR9, 9mm caliber pistol with Serial Number 33524231 loaded with

15 rounds of “Blazer 9mm Luger” ammunition in the magazine; a Springfield

Armory, Model EP9, 9mm caliber pistol with Serial Number MG426887 loaded with

15 rounds of “Hornady 9mm Luger” ammunition the magazine; a bag of



3
    Exhibit A, pg. 1.


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approximately 320 “M30” pills, suspected fentanyl; a plastic bag that contained

three pistol magazines (one pistol magazine was empty, one contained 13 rounds of

“Winchester 45 Auto” ammo, and one contained 12 rounds of “Blazer 9mm Luger”);

and multiple boxes of ammunition.



                         ARGUMENTS & AUTHORITIES

 I.   The application for search warrant was insufficient and did not set forth
      probable cause to search the apartment at 4801 Independence Avenue, 2E,
      Kansas City, Missouri because officers failed to provide sufficient facts
      establishing illegal activity.

   “The Fourth Amendment requires law enforcement to show probable cause,

supported by oath or affirmation, before a search warrant is authorized.” U.S.

Const. Amend. IV.

      Probable cause “exists when, under the totality of the circumstances, there is
      a fair probability that evidence of a crime will be found in a particular
      place.” Id. (cleaned up, citation omitted). A reviewing court is to give the
      issuing judge’s probable-cause determination great deference, confirming
      only that the judge “had a substantial basis for concluding that a search
      would uncover evidence of wrongdoing.” Id. (citing Illinois v. Gates, 462 U.S.
      213, 236, 103 S. Ct. 2317, 76 L. Ed. 2d 527 (1983)). Courts consider the
      totality of the circumstances to determine whether the affidavit supporting a
      warrant is enough to establish probable cause. United States v. Keele, 589
      F.3d 940, 943 (8th Cir. 2009).

United States v. Edwards, No. 21-CR-255-1 (NEB/ECW), 2022 U.S. Dist. LEXIS

147795, at *3 (D. Minn. Aug. 18, 2022)

      The application in this matter did not establish probable cause. The

application fails to establish that Mr. Mangol possessed drugs or distributed drugs.

The application did not contain any information from sources or reliable

confidential informants that Mr. Mangol sold drugs to them. While Wells describes


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observations of Mr. Mangol communicating with several people, none of those

witnesses gave statements or information implicating him in drug transactions or

drug activity. The application contains no corroboration of any speculation born

from the surveillance.

           On January 10, 2023, officers conducted a car stop of one of the individuals

after they left the surveillance area. During this stop, officers observed a substance

that appeared to be a crushed pill. Later testing indicated the pill contained

fentanyl. The application fails to link the substance Hayden possessed to Mr.

Mangol. Det. Wells does not include any statements by Hayden indicating that he

bought the pill from Mr. Mangol. In fact, the application contains no statements

from anyone indicating that Mr. Mangol sold fentanyl to them.

           The only mentions of fentanyl are: (1) the test result of the substance Hayden

possessed; and (2) the initial paragraph of the application. In the initial paragraph,

Wells indicates that Mr. Mangol was “reportedly selling fentanyl from his

apartment.”4 There is no indication who reported this or how Wells reached this

supposition.

           Included in the application is mention of Mr. Mangol’s arrest in July 2020 —

29 months prior to the January 10, 2023, surveillance. This arrest purportedly

resulted in the recovery of alprazolam and MDMA. There is no evidence that any

fentanyl was recovered or contained in the items recovered. There is no indication

that he was engaged in selling any of the substances recovered. Mr. Mangol was


4
    Exhibit A, pg. 1.



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charged with possession of a controlled substance in Jackson County as a result of

this arrest. Additionally, this arrest was more than two years prior to the

investigation in this matter.

      The application lacks specificity. The surveillance indicates some meetings

with people in their cars. Wells concludes that these meetings are consistent with a

hand-to-hand drug transaction; however, Wells fails to state how he concludes this

and how he concludes that the alleged transactions involve fentanyl.

      Finally, the application lacks any details connecting the observations to

apartment 2E. Wells describes observing Mr. Mangol enter the “common door”

leading to his apartment. This door leads to a stairwell, a large laundry area, and

two apartments. The officers did not observe where Mr. Mangol went after he

entered this door.

      The issuing court must have a substantial basis for concluding that probable

cause existed. United States v. Juneau, 73 F.4th 607, 614 (8th Cir. 2023).

      Although we have not adopted a per se rule to the effect that probable
      cause to arrest a drug trafficker establishes an inference that records,
      paraphernalia, and other evidence of drug trafficking exists at the
      trafficker’s residence, we have found probable cause to exist in cases in
      which officers have stated that in their experience such an inference is
      appropriate and in which a supporting affidavit also described a
      defendant's continuous course of drug trafficking activity. See,
      e.g., United States v. Luloff, 15 F.3d 763, 768 (8th Cir. 1994).

      United States v. Ross, 487 F.3d 1120, 1123 (8th Cir. 2007). This case,

however, lacks: (1) the evidence of a continuous course of drug trafficking activity;

and (2) a nexus between Mr. Mangol's alleged involvement in drug distribution and

his home. Because of this, the application in this matter is lacking the corroboration



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and specificity required to support probable case. See United State v. Norey, 31

F.4th 631 (8th Cir. 2022) (reliable confidential informant provided information

coupled with surveillance, car stops resulting in the recovery of drugs, scales and

money, and shooting at an address associated with defendant.); United States v.

Edwards (defendant’s course of drug trafficking described using informant

statements that were corroborated, officer surveillance and GPS tracking); United

State v. Mayo, 97 F.4th 552 (8th Cir. 2023) (recovered drugs and guns in vehicle,

defendant associated with gun and vehicle by fingerprint, defendant stopped and

found in possession of drugs, defendant’s recorded phone call in the back of police

vehicle).

       In United States v. Randle, the District Court found probable cause lacking.

United States v. Randle, No. 19-50 ADM/TNL, 2020 U.S. Dist. LEXIS 61014, at *10-

11 (D. Minn. Apr. 7, 2020). The Court found that the affidavit, “comes close to, but

does not quite reach establishing probable cause to search the Residence.” Id. The

Court also found the government’s arguments about the meaning of the affidavit

were logical; however, they required an inferential leap. But this inferential leap

was not appropriate given the lack of information in the application establishing the

nexus between contraband and the location searched. Id.

       This case is similar to Randle. The probable cause statement in this case

requires a few inferential leaps. The first leap is that Mangol was distributing

drugs. The probable cause application infers that the police have information that

Mangol was distributing drugs, but no evidence of drugs and no source claiming




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they received drugs from him. The second leap is that drugs could be found in the

apartment. The officers described observing Mangol enter a rear door that leads

upstairs in the building. This stairwell leads to a laundry area and two apartments.

While the search warrant application associated Mangol with one of the

apartments, there is no statement about the second apartment or the laundry room

area. The drugs could have been concealed in the laundry area or the other

apartment. The police failed to establish the nexus with the specific apartment.



II.   The Government cannot rely on exceptions to excluding evidence
      unconstitutionally obtained pursuant to United States v. Leon, 468 U.S. 897
      (1984), because the affidavit in support of the warrant is ‘so lacking in indicia
      of probable cause as to render official belief in its existence entirely
      unreasonable.” United States v. Williams, 976 F.3d 807, (8th Cir. 2020)
      (quoting Leon 468 U.S. at 923).

      The good faith exception to the exclusionary rule set forth in Leon is

inapplicable: “(1) when the affidavit or testimony supporting the warrant contained

a false statement made knowingly and intentionally or with reckless disregard for

its truth, thus misleading the issuing judge; (2) when the issuing judge wholly

abandoned his judicial role in issuing the warrant; (3) when the affidavit in support

of the warrant is so lacking in indicia of probable cause as to render official belief in

its existence entirely unreasonable; and (4) when the warrant is so facially deficient

that no police officer could reasonably presume the warrant to be valid.” United

States v. Fiorito, 640 F.3d 338, 345 (8th Cir. 2011).

      In the present case, the application fails in all respects. The application is

facially deficient such that no officer could reasonably presume the warrant to be



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valid. The need for corroborating information and for evidence establishing illegal

activity are basic elements of the warrant requirement. The warrant lacks the

necessary indicia of probable cause and reliance on this application is entirely

unreasonable. If additional evidence, statements, or corroboration was available,

Wells omitted this from the application. If this is the case, then the application

supporting the warrant contained an omission made knowingly and intentionally or

with reckless disregard for its truth, thus misleading the issuing judge. Finally, the

application is so lacking in probable cause, that the review in this matter by the

judiciary was abandoned.



III.      Any statements made by Mr. Mangol were coerced and in violation of the
          Fifth Amendment of the United States Constitution and are fruit of the
          poisonous tree. Wong Sun v. United States, 371 US 471 (1963).

       Evidence will be considered “fruit of the poisonous tree” after a violation has

occurred, unless law enforcement can show that the evidence was obtained “by

means sufficiently distinguishable to be purged of the primary taint.” Wong Sun v.

United States, 371 U.S. 471, 488 (1963). The Court in Wong Sun discussed the

danger of failing to suppress evidence when no reasonable suspicion or probable

cause is present:

       A contrary holding here would mean that a vague suspicion could be
       transformed into probable cause for arrest by reason of ambiguous conduct
       which the arresting officers themselves have provoked. Cf. Henry v. United
       States, 361 U. S. 98, 104. That result would have the same essential vice as a
       proposition we have consistently rejected—that a search unlawful at its
       inception may be validated by what it turns up. Byars v. United States, 273 U. S.
       28; United States v. Di Re, 332 U. S. 581, 595.



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   Without the requisite probable cause, the search warrant would not have issued,

and the subsequent incriminating evidence would not have been obtained. There

was no independent evidence to support the information garnered from Mr.

Mangol’s illegally obtained incriminating statements. See Segura v. United States,

468 U.S. 796, 813-14 (1984). Without an independent source, so as to distinguish

the unlawfully obtained incriminating statements from the probable cause

necessary for the Search Warrant, the warrant, and the evidence obtained

therefrom were unlawful as well including the statement, the two iPhones seized

from Mr. Mangol as well as the currency seized.

   Because law enforcement did not have reasonable suspicion or probable cause to

stop or arrest or search his apartment, the evidence was obtained in violation of Mr.

Mangol’s rights to be free from unreasonable search and seizure, to due process of

law, to remain silent, and to counsel as guaranteed to him by the Fourth, Fifth and

Sixth Amendments to the United States Constitution.



                              CONCLUSION
   Mr. Mangol’s Fourth Amendment rights were violated when officers conducted

an unreasonable search of his apartment and seized several items of evidence. This

search was not supported by probable cause and does not fall within the good-faith

exception to the exclusionary rule. Therefore, Mr. Mangol requests this Court to

suppress all evidence relating to this illegal search and seizure on January 26,

2023, to suppress any subsequent statements and evidence seized from Mr. Mangol,

and for whatever relief this Court deems just and proper.


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                                                Respectfully Submitted,

                                                SANDAGE LAW LLC


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                                                ATTORNEY FOR DEFENDANT

                            CERTIFICATE OF SERVICE
       On December 23, 2024, I served this document by depositing an electronic
copy of it in the Court’s electronic filing system, which shall distribute notice to all
attorneys of record.


                                                / s/ Laura O’Sullivan
                                                Laura O’Sullivan




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